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Certificate of Registration

This Certificate issued under the seal of the Copyright

Office in accordance with title 17, United States Code,

attests that registration has been made for the work

identified below. The information on this certificate has Registration Number

been made a part of the Copyright Office records. VA 2-371-731

Effective Date of Registration:
htta lib miler. November 20, 2023
Registration Decision Date:

United States Register of Copyrights and Director November 21, 2023

Title

Title of Work: 3D teddy bear slippers design

Completion/Publication

Year of Completion: 2019
Date of Ist Publication: July 28, 2020
Nation of 1 Publication: United States

Author

° Author: aidong zou
Author Created: sculpture
Citizen of: China
Domiciled in: China
Year Born: 1974

Copyright Claimant

Copyright Claimant: aidong zou
1300 morningside park drive, alpharetta, GA, 30022

Rights and Permissions

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alpharetta, GA 30022 United States

Certification

Page 1 of 2
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Name:  aidong zou
Date: August 25, 2023
Correspondence: Yes

Copyright Office notes:

Regarding basis for registration: Sculptural features identified separately from
and capable of existing independently of the utilitarian aspects of a useful article.

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